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 1   DAN KOUKOL
     Attorney at Law
 2   State Bar No. 122526
     11930 Heritage Oak Place, Suite 6
 3   Auburn, California 95603
     Telephone: (530) 823-5400
 4   Facsimile: (530) 852-0150
     Email: dkoukol@placergroup.com
 5
     Attorney for Defendant,
 6   MICHAEL MOORE

 7
                                 THE UNITED STATES DISTRICT COURT
 8                            FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                         CASE NO. 2:10-CR-0237 GEB

11               Plaintiff,                            STIPULATION AND ORDER TO MODIFY
                                                       CONDITIONS OF PRETRIAL RELEASE
12        vs.

13   MICHAEL MOORE,

14               Defendant.

15

16          MICHAEL CHRISTOPHER MOORE, by and through his counsel, DAN F. KOUKOL,

17   the United States Government, by and through its counsel, SAMUEL WONG, Assistant United

18   States Attorney, and TAI GASKINS, United States Pretrial Services Officer, hereby agree to

19   modify the defendant’s conditions of release by adding the following term:

20          //

21          //

22          //

23          //

24          //

25          //
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26
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 1            “You shall participate in a cognitive behavior treatment program as directed by the

 2   pretrial services officer. Such programs may include group sessions led by a counselor or

 3   participation in a program administered by the Pretrial Services office.”

 4

 5                                                 Respectfully submitted,

 6   DATED: June 3, 2011

 7
                                                   /s/ Dan Koukol
 8                                                 __________________________________
                                                   DAN KOUKOL
 9                                                 Attorney for Defendant,
                                                   MICHAEL MOORE
10

11                                                 /s/ Samuel Wong
                                                   __________________________________
12                                                 SAMUEL WONG
                                                   Assistant United States Attorney
13

14                                                 /s/ Tai Gaskins
                                                   __________________________________
15                                                 TAI GASKINS
                                                   United States Pretrial Services Officer
16
                                                               ORDER
17
              IT IS SO ORDERED.
18
     DATED:June                                                  4,                          2011
19

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